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                                                                                              Jan 25, 2021

                               UN ITED STATES D ISTRICT C O URT                                          Miami, FL
                               SO UTH ERN D ISTR ICT O F FLO RID A
                               xo*   .
                                                  21-M J-02131-TORRES               ',




   UNITED STA TE S O F A W RICA

   VS.

   DALLASTERIV LL SMITH,
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   2. Did this m atter orighzate from a m atterpending in.the N orihel'
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         Attorney'sOm cepriortoAupzst8,2014(M ag.JudgeShaniekMayhafdl'
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         Did this matteroriginate ti-om .
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                                                        BY:CHRISTINE HFXNANDEZ
                                                        A ssistantU liited States Attonley
                                                        Florida BarNè:15349
                                                        U .S.Attonley'sOffice
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                                                        Te1:(305)71517641/7655
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               DALLAS TERRELLESQI
                                TH,'                        )
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Case 1:21-cr-20079-DPG Document 3 Entered on FLSD Docket 01/26/2021 Page 3 of 9
                                                                                                     !
                                           AF#IDAVI'/
          1,A drian H a1ley,being duly sw onz,hereby depose and state'
                                                                     asfollow s:

                       A/ENT BACKGROUND AND INTRODUCTION
          1.     l am a speci>l Agent with the Bureau of Alcoholr,Tobacco, Fireannq, and
                         .




   Ekptosives tçATF''). Ihave served as an ATF SpecialAgent'
                                                           for àpproxilhatèl#,13 years.
   Cprrently,Jam asyignedtljthe'
                               Strkd TerroyOffepderProgrym C:SYOP'')/High Insensity Qmg
   Tram ckingAreaC&HIDTA'')TaskForce.1am anhwestigativeor1aw enforcementoffkerofthe
   United States within the m eanitzg'of Title 18,Unit4d States Code,Seçljon 25.10(7j,.
                                                                                   .  al
                                                                                       pd 1Am
   empoweredby1aw toconductinvestigations.
                                         0lland.tom akearrestsforfederaloflknses;including.
   butnd lim ited to offensesinvolking.firexnins,firearms'tfàfflcking,ktljd ditùds,of'
                                                                                     violèfzcç,1 ,
   enumerated in Titles18oftheUnited'
                                    S'tatesCode.

          2.     'lhisAffidavitism ade'forthe.purposeofestablishingptobablecauseiù suppöttof

   thearrestofDallas,TerrellNMI'
                               I'H (ççSV JTH''),.whqlmplinglym ade.fqlsçwrjttep.jtgtçmçntj,jn,
                                                               v       .




   violation ofTitle 18,United StatesCode,Section 922(a)(6)atzd dealing in.flreanuswithouta
   license,i!lviolationofTitle18,UnitedStatesCode,Sectioh922(a)(t)(A).
                 The staterpçnty contained in thisAffidavitare bwsed on m y person>lklw w ledgç,ws

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                                            m e and to n
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                                                                enforcem entofficers,
                                                                                    '
                                                                                    involved .
                                                                                             in

   thk investigation,butonlythetfactssufficienttp establkh.pm hàbl:cause.
                                      PR O BA BLE CAU SE

          4.     As a fesultofan ongoing investigation into violentcrim es and gun violenèe'in
   South Floridw SM ITH hasbeen identified a.
                                            jastraw purchaseroffirearm sforvariotp individuals,
Case 1:21-cr-20079-DPG Document 3 Entered on FLSD Docket 01/26/2021 Page 4 of 9




   M atty pfthçse individualsareknown gang membersorl
                      w                             arebelievçdlp b: linkedto activeyaqgs
   in South Florida. Since 201'8, 1aw enfbrcem ent detbnnined that SM ITH had '
                                                                              purchased

   approximatelytwenty-five(25)firenrms.
                   On June2,2019,SM ITR purchased two firearm sfrpm the M iam iPolice Depot
                                                             .




   Inc,aFederalFirearm Licerlsee(ççFFL'')lodàtedat1040E 49thSjteej,inHialeahoFlofida.Prior'to
   pvrchasing thefiieanns SM I-PH was.
                           .         qçquirçd to çomplete >firearm strgqsactipp recprdothem jbe
                                                 ,




   known as an ATF Fonn 4473.A ccording tb the A'
                                                IT Fonn :
                                                        4473 com pleted by SM ITH atld the

   corm ppond,ingsalerrekeiptfrqm Juhe2,2019,SV ITH putçh
                                                        .gpdthe'föllowipglirdérmF:
                      Taurus,m odelG2C,9 m m caliberpijtol,serialnum ber'TM A 71771'
                                                                                   ,

                   b. Taurus,.m odelG2C,9 mm caliberplstbl,se/ialnumberTLW 18212
   According to the salesreceiptprovided by the M iam iPolice Depot,Inç,,SM ITH purchwsed thç

    treanhsttsing cashfor$299.60 and $280.00,respectlvely.
   t-                                    .




          6.       Laterihatsnpne day oq June2,2419,theTattruqm odél'G2U, 9 mm.caliberpistol,
                                                 ,                     .
                                                                           .
                                                                           .   .              ,



   serialnum berTM A71771,thatw aspurchased by SM ITH w asrecoverx
                                                                 ed in thepossessionwofC'
                                                                                        .B,

   bytheCityofViamiPoliceD:parfment@tPD).L&5vùnfljrczmentobtainedaçopyöfihei
                                                                           flrearfns
   transactionrecord,otherwiseknpwnasanATFFonn4473,forthefkearmspuwhased.bySMITH
   on June2,2019. On theATF Fotnh 4473, SMITH answered ç
                                             .         'Yes''in section 11(à)'
                                                                             ,statingtbat,
   SM ITH w astheactualtransferee+uyerpfthefirearm slistedx
          .    .                                          pntheform ;Fhen'
                                                                         in faci,heFa#not
                                                                           x




   asevidenced by thefactthatC .B.was in possession ofone ofthe gunsthe sam e day.ofthe sale.

   Additionàlly,on.the A'IY Fornj'
                           .   . 4473,sùctioq 2,whereiheindividualisgsk4dfötthefo'
                                                                                 llpwing:
   tçcurrent State ofResidence and Address.Nùm berand StreetAddress,''SM ITH listed hisaddress
Case 1:21-cr-20079-DPG Document 3 Entered on FLSD Docket 01/26/2021 Page 5 of 9




   as'6736.N7 4: Ayçnue, V iami,l'lqrida83.
                                          1$0jwhenin tmth and.ih fàct8M ITI1did,notreside at'
                                          '   '
                                              .   .                           .   .   .




   thatlocation.

                   On September 5,2019,SV ITH retttm ed to the M iam iPolice Depöt Inc.,and
   purch4sed an addition>ltwo fwearnp.Priorto purchasingthefirearm s,SM ITH..
                                                                            wasrequiredto

   complete an ATF Fonù 4473.Acbordingto ttle ATF Fèrm 4473 cofnpleted by.SM ITH and the
                                                                                      .




                                            sj2019,SM ITI-
   corresppndirlg sélçsrecçiptfrom Nqpsembkra         .  Jpurchased,jhefdllpFingfimarm s:
                                                          .




                      a. American Tadical,m odelATIM ilsport 5.56mm caliberrille,serial

                          numberM jA02'2219
                          RadicalFireanns,m odelRF15,5.56*1111n caliberpistol,serialxnum ber

                          R.
                           1 04642

   Accordingvto the lales receiptpm vided by the M iam iPoli'
                                                            ce Depot lnck,SM ITH purchayed the:
                                                              .




   flrearmsusihgcash for$997,24.
          8..      Qn &ovem ber11,7019,theRadicalFim arms,modelRF1$,5'
                      .                                              .56V M çéliberpibtol.
   serialnum ber 2.704642,purchased by SM ITH w as recovered in the possession of T.W -
                                                                                      .by the

   Hollywoöd Police'Dzpattment.This wàs Approxhuately sevçntpseven.(77)day7,r
                                                                            alleritwas
   purqh% edbySH ITH.Law epforcem eqtobtainedacopyoftheATF Form 4473frpm ihçfireArrps
   pumhasedby SM ITH ohNovem ber5,2019.OntheATF Fo'
                                                  rm 4473,SM ITH answeted tçYej''ih,

   section 11(a),s'
                  tating thatSM ITH Nvp,
                                       sthe actualtramfemç/buyerofthe.ficeanl!klisipd ol'
                                                                                        fthe
   form ;in fact,'
                 he was not. .Additionally, on the ATF Fonn.4473,section 2, çgcurrent Slate of

   Resid4pce artd Addres:Numberajjd'Ssreetèldiress,''SM lTl-
                                                           l'listed hisaddmssAs6736 NW 4t
                                                              x
                                                                                        h'

   Avenue,M inm i?Florida 33150,,Whdn in truth '
                                               and in factSM ITH did notxreside atv ataddress.
Case 1:21-cr-20079-DPG Document 3 Entered on FLSD Docket 01/26/2021 Page 6 of 9




                 OhM àrch J6,2020,SM X ILIpurçhmsedthreefi'
                                                          rearmsfrom theM iam iPoliceDepot
   Ihc.,'
        located at 1040 E 49th street, Hialeaho'
                                               Florida.Priorto the purchasing the firearm sj'sM l'
                                                                                                 rl-
                                                                                                   l

   fi1l4dout.
            lheATF'FO= 4477.Acèovdinyt4ttteATF Form 4473ànflcoh-esppndingsaleàreckipt

   SM ITH purchwsedthrfollpwingfkenrms:
                 a. Tàùnfs,modeld2C,9tnm caliberpistol,jetialnumb8#.
                                                                   AAM 1t0342'
                 b. '
                    Uloçk moddl1.
                                9X,9mm çéliberpistol;yerialnumberADKX590
                                                        .
                                                                                     '




                        Century A rm s,m odelDraco,7,63x39 m m caliberpistol,seriàl.num ber

                        DF-7,8t8-19
   A ccording to the sales receiptprovided by the M iam iPolice Depot Jnc.,SM ITH purchmsed the

   flrearms'
           usihgcashfor$1,874.
          10.    On Septem ber 7, 2020, the Taurus,m odùl G2C, 9 m m caliber, serial num ber

   445110342,purchased'
                      bySMITH (.
                               m March 16,.2O20jwàsE
                                                   recoveredinthe#oss'
                                                                     esslön ofJ.W .
                                                                                  t,
   a convicted feloq,by thp Avùntura Police Drpartmerti,iq Aventura,Flotida-'
                                                                            714ze.fireâm lwms

   recovered approximately one htmdred and seventy-five (1,
                                                          75)days afteritwas'
                                                                            purehased by.
   SM ITII. Law enfôrcemehtGbtained acopy ofthe ATF Fpntl4473 ftom theflrzannspurchy yct

   IIy.SMITH onMarch16s2020kOntheATF Fonu 4473,SNII'I'
                                                     H answeredççYes''insedion 11(a);
   statingthatSM ITH wastheactualtrarijfetee/buyerofthefkeanuslistebonthefönn;whbnirifaçt,
   he was17(4. u
               Additilmally,0q.the ATr Form 4473,seztipq 2,çr upenjSiatç ot Residetzce'
                                                                                      qn'
                                                                                        d
   Address'
          N um berand StreetAddress,''SM ITH listed his address as 6736 NW 4t
                                                                            11Avenue, M iam ij

   FloridA33150,,w herfin truth and in fact'
                    .                   .  sV lTz didnotresideatthatlocation.
          11.    On or about N ovem ber 19, 2020, 1aw enforcem ent .
                                                                   conducted an interview of

   SM ITH. Laaw enforcementverised SM ITH'S Florida Driver's Licehse.SM ITH stAted thathis

                                                   4
Case 1:21-cr-20079-DPG Document 3 Entered on FLSD Docket 01/26/2021 Page 7 of 9




   FloridaDriver'sLicensewas'
                            active,btltheneededto updatehis address. Açcqrdingto S'
                                                                                  M JTH       .




   he had notresided atthe address listed on both hisFlorida Driver's License atld the ATF Form

   4478(6716NW P Avenue,Miami,Florida)forfive(5)4oseven (7)yeats.SMITR '
                                                                       contqlnned
   thatthough he listed the 6736 >ddreFsin the ATF Fonn 4473 he did notreside there atthetim ehe
        .




   pumh%edthe aforementionez firearms. SM ITH provided agentswitflhism oktreczntaddressifl.
   Hallqndqle Beach,Florida.

            12.   SM ITH advisedheonlyownedatotalofthree(3)flrearms.AccordingtoSMrl'l'lj
   hehad sgldh% otherfirearm s.SM ITH tuldtheagentjthathçwould cryateabillqfkale'ortake'a'.




   photograph ofthe license ofthe purchaserduring the sale ofhis fireanns.However,SM ITH was

   unabletoprovide1aw elzforcementwith any ofthebillofsalesorinfbrmation onthepûrchasers'
                                                                                        .
   Accoyding fo SM ITH ,he believed the bills pf sales w ere located in another residçnce,and hç
                                                                                      .




   neededtosearch forthem .SM ITH adm ittedthathesofdtheflrearm stopay.hisbills'
                                                                               .Agentsthen
   ilzfonuedSMJTH thatseveralofh% fireanush>dbeenrecove'
                                                       ted during crimes.SM ITH denkd
   buying thefireannsforotherpeople.SM ITH continued to tellagentsthathe had only purchased

   seven (7)oreighs(8)ftrearmswithinthelasttwo(2)yearj.AccorditzgtoSMITH hçhadsoldt%e
   firearm sto individualsw ith copcealed w eapop penri'
                                                       ts and to security guards. SM ITH stated he

   Qrlly had digitalcopies/im ages oftlze contact intbrmation ofindividualshe sold the flrearm stq,
                                                                                  .




   but wa4 unable to provide them to 'law enforcçm ent b:çauseshe stat,ed his iphone'needed tp be'
                                                                             .




   repaired.SMITH toldagentsthatwithinthelastsix(6)yearsofhimxbuyingandsellingfirenrmsw.
   hehad sold Gtno m orethq,
                           n ten''firearm s.

                  Law enforcem entinfonned SM lTilthattheyhavedocum entation regarding several

   firearm ptzrchaseshehadm ade.Asaresu'ltoftheinvestigasion,1aw #nforcementdetçtminedthat

                                                 5
Case 1:21-cr-20079-DPG Document 3 Entered on FLSD Docket 01/26/2021 Page 8 of 9




   SVITH had Purchased appmximately '
                                    twenty-tive (25)fireanhswithin the'
                                                                      lasttwb (;)
                                                                                .years        ..




   SM ITH could notexplain w hy he did notknow the am ountofflrearm shehad purchase.norcould

   hepm vide1aw enforcçmentany information àsto thew hereaboutsofthose fireanns'.
                                             .




          14.                                                  individualwho on June2)
                 Law enforcementFhowed SV lTH aphoto ofC.B.,the'                              .



   2019Svasinpossejsionofth:ftrearm thatwaspurchmsedbySMITH o'
                                                             nthe'
                                                                 sameday.SMITH
   stated,v'Idoknow himr',when asked ifheyeqqgrlized CkB.,.
                                                          butSH ITH'could llptçxplain to'
                                                                                        law'

   enforcementhow C.B.wasin possessionthefireannthat.heISM ITHIhadpurchasedthatsame
   day.

                 SM ITH acknow ledged thathe would purchaseflreanns,then subsequently sellthe

   flreanns.ihorderto'pàyhisbillb,whichflestatedwàstçalletlz:tilue.''Atcordingto SM I'I'H,he was,
                                                                                .




   making approximately $50.00 more(m '
                                      tltesale'
                                              ofeach firearm .
          16.    Ithen showed SM ITH severalcppiesoftheATF Fonu 44737sthatwervcompleted
   bySM ITR fortlzeputchaseofaforementionedfireanuj.W hilereviewingthedocuments,SM ITH

   confinued thathe filled outthe fonns llimselt and identified his handwriting and signature as,
   being correct. SM ITH confinnedthathepaidcash fora11thefireannshehadpumhasçd.

          17.    On January 5,2021,the ATF NationalLtcerlsing Cepterrecordswçre queriedtp'

   %certéiflit-SMI'I'
                    H everposjesbedaFederatFirenrrhsLicen'
                                                         se(FFV todbalinflrenrms. r
                                                                                  172.
   results ofthat query confirm ed that,speçihcally durihg the dates of Jantpary 1,2018 tlzyough
   January 5, 202.1,SM ITH did not possess nor,had ever possessed a Federal license to deal.in

   fireanhs.




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                                             ljewiittènstàtémentq,ihkltjlàtiôn'ofTitle'l8,Un'i
                                                                                             ted
       States.Code,Section922(à)(6);and deal'in firearmswithouta liqçnse;.
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          I'ED STATES MAGISTRATE jODUE
